                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:05CR294

UNITED STATES OF AMERICA                         )
                                                 )       ORDER GRANTING
       v.                                        )       MOTION TO CONTINUE
                                                 )       AND
TITO THOMPSON                             (1)    )       ORDER SEVERING
BOBBY THOMPSON                            (2)    )       CO-DEFENDANTS
WILBERT RAYNARD MORRISON                  (3)    )
EDWARD D. NEELY                           (4)    )
GOWON DICKSON                             (5)    )
BOBBY LARUE THOMPSON, SR.                 (6)    )
DUNCAN CARSON                             (7)    )

        THIS MATTER IS BEFORE THE COURT on defendant Tito Thompson’s motion to
continue [doc. #95] filed November 13, 2006. After reviewing the record, it appears to the Court
that the interests of justice would best be served by the severance of co-defendants in the
following manner: IT IS ORDERED that Defendants Tito Thompson, Bobby Thompson,
Edward D. Neely, Gowon Dickson, and Bobby Larue Thompson, Sr., are hereby severed from
Defendants Wilbert Raynard Morrison and Duncan Carson and that these defendants will be tried
separately.

       IT IS THEREFORE ORDERED that the trial of Defendants Wilbert Raynard Morrison
and Duncan Carson remain set for the December 4, 2006 term at 10:00 a.m. in the Charlotte
Division.

        IT IS FURTHER ORDERED that Defendant Tito Thompson’s motion to continue is
GRANTED. The trial of Defendants Tito Thompson, Bobby Thompson, Edward D. Neely,
Gowon Dickson, and Bobby Larue Thompson, Sr., is hereby set for the January 8, 2007
term at 10:00 a.m. in the Charlotte Division. The court finds that the ends of justice served by
taking such action outweigh the interest of the public and defendant to a speedy trial.

       IT IS SO ORDERED.
                                                 Signed: November 15, 2006




       Case 3:05-cr-00294-GCM           Document 99        Filed 11/15/06      Page 1 of 1
